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RUDO DUJXPHQW RQ WKH %DQNV¶ 0RWLRQ IRU 5HLPEXUVHPHQW RI $WWRUQH\V¶ )HHV &RVWV DQG 2WKHU
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        Counsel for Bank of China, Bank of
        Communications, China Construction
        Bank, China Merchants Bank, and
        Industrial and Commercial Bank of
        China Limited

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